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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


DISPLAY TECHNOLOGIES, LLC,


                     Plaintiff,              C.A. No. _______________
                v.                           JURY TRIAL DEMANDED
PHILIPS NORTH AMERICA LLC,

                     Defendant.


                       CORPORATE DISCLOSURE STATEMENT

        Plaintiff Display Technologies, LLC is a Texas limited liability company.   Display

Technologies, LLC has no parent corporation, and no publicly held company owns 10% or more

of its stock.

Dated: October 11, 2017                       BAYARD, P.A.

Of Counsel:                                   /s/ Stephen B. Brauerman

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